           Case 3:19-mj-01560-NLS Document 1 Filed 04/16/19 PageID.1 Page 1 of 13                             FILED
                                                                                                          :-----
AO 106 (Rev. 04/10) Application for a Search Warrant
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                                                                                                                         .LV(,.UJ.I


                                      UNITED STATES DISTRICT COU ~T
                                                                                                      CLERK US DISTRI CT COURT
                                                                      for the                      SOUTH ERN DISTRICT OF CALIFORNIA
                                                                                                   BY                       DEPUTY
                                                         Southern D1stnct of Cahforma

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched
          or identify the person by name and address)
                                                                        )
                                                                        )       Case No.               1')MJ1560
              One Samsung Cellular Telephone                            )
                  IMEI: 359480090383317                                 )
                         Pink in color                                  )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
                                                             SEE ATTACHMENT A
                                                          (INCORPORATED HEREIN)
located in the             Southern               District of            California      , there is now concealed            (iden tify the
                     ----------------                           ------------------------
person or describe the property to be seized):

                                                    SEE ATTACHMENT B
                                                 (INCORPORATED HEREIN)
          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                   ~evidence of a crime;
                   0 contraband, fruits of crime, or other items illegally possessed;
                   0 property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                         Offense Description
        21 USC§§ 952 and 960                       Importation of a Controlled Substance



          The application is based on these facts :
                                  SEE AFFIDAVIT OF TASK FORCE OFFICER ADRIANA ROSAS-CARRANZA

           lllf   Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _________ ) is requested
             under 18 U.S. C. § 31 03a, the basis of which is set forth on the attached sheet.



                                                                                ~~'
Sworn to before me and signed in my presence.


Date:       .y ../~ -L-9    (
                                                                                              Judge 's signature

City and state: San Diego, CA                                                   Hon . Nita L. Stormes, U.S. Magistrate Judge
                                                                                            Printed name and title
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                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

      a.    Samsung Galaxy cellphone
            1~1:359480090383317
            Pink in color
            (Target Device)




The Target Device is currently in the possession of the Department of Homeland
Security, Seized Property Vault, Homeland Security Investigations San Diego, 880
Front St, San Diego, CA 92101.
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                                    ATTACHMENT B

                                   ITEMS TO BE SEIZED

       Authorization to search the cellular/mobile telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular/mobile telephone for evidence
described below. The seizure and search of the cellular/mobile telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

       The evidence to be seized from the cellular/mobile telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from various
third-party applications, photographs, audio files, videos, and location data, for the period of
August 15 , 2q18 to November 15, 2018:

       a.     tending to indicate efforts to import methamphetamine, or some other controlled
              substances from Mexico into the United States, or possess and/or transport with
              the intent to distribute controlled substances within the United States;

       b.     tending to identifY accounts, facilities, storage devices, and/or services-such as
              email addresses, IP addresses, and phone numbers-used to facilitate the
              importation of methamphetamine, or some other controlled substances from
              Mexico into the United States, or possession and/or transportation with the intent
              to distribute controlled substances within the United States;

       c.     tending to identifY co-conspirators, criminal associates, or others involved in
              importation of methamphetamine, or some other controlled substances from
              Mexico into the United States, or possession and/or transportation with the intent
              to distribute controlled substances within the United States;

       d.     tending to identifY travel to or presence at locations involved in the importation
              of methamphetamine, or some other controlled substances from Mexico into the
              United States, or possession and/or transportation with the intent to distribute
              controlled substances within the United States, such as stash houses, load
              houses, or delivery points;

       e.     tending to identifY the user of, or persons with control over or access to, the
              subject telephone; and/or

       f.     tending to place in context, identifY the creator or recipient of, or establish the
              time of creation or receipt of communications, records, or data involved in the
              activities described above;

which are evidence of violations of 21 U.S.C. §§ 952, 960, and 963.
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 1                                        AFFIDAVIT
 2         I, Adriana Rosas-Carranza, an officer with the Department of Homeland Security
 3 (DHS), Customs and Border Protection (CBP), being duly sworn, hereby state as
 4 follows:
 5                                    INTRODUCTION
 6         1.    I make this affidavit in support of an application for a warrant to search the
 7 following electronic device (referred to herein as the "Target Device"), as further
 8 described in Attachment A, and seize evidence of crimes, specifically, violations of
 9 Title 21, United States Code, Sections 952,960, and 963, as more particularly described
10 in Attachment B:
11               a.     Samsung Galaxy cellphone
12                      I1f.EI:359480090383317
                        Pink in color
13
                        (Target Device)
14
15 This search supports an investigation and prosecution of Laura CASAS (CASAS) for
16 one or more of the crimes mentioned above. A factual explanation supporting probable
17 cause follows.

18         2.    CBP officers seized the Target Device from CASAS at the time of her
19 arrest for importation of methamphetamine into the U.S. from Mexico on November
20   15,2018. The Target Device is currently stored in the Seized Property Vault, Homeland
21   Security Investigations San Diego, 880 Front St., San Diego, CA 92101.
22
           3.    Based on the information below, there is probable cause to believe that a
23
     search of the Target Device will produce evidence of the aforementioned crimes, as
24
     described in Attachment B.
25
           4.    The information contained in this affidavit is based upon my experience
26
     and training, consultation with other federal, state, and local law enforcement agents.
27
     The evidence and information contained herein was developed from interviews and my
28

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 1   review of documents and evidence related to this case. Because this affidavit is made
 2   for the limited purpose of obtaining a search warrant for the Target Device, it does not
 3   contain all of the information known by me or other federal agents regarding this
 4   investigation, but only contains those facts believed to be necessary to establish
 5   probable cause. Dates, times and amounts are approximations unless otherwise noted.
 6                            EXPERIENCE AND TRAINING
 7         5.    I am a CBP Officer and have been so employed for approximately 17
 8 years. I have been a Task Force Officer with Homeland Security Investigations for
 9 approximately six years. I have conducted criminal investigations of or relating to
10 narcotics smuggling and other crimes. I have received specific training in the area of
11 narcotics investigations, and I have training and experience in the methods used by
12 narcotics traffickers to import and distribute drugs. I am presently assigned to the
13 Organized Drug Enforcement Task Force (OCDETF) Strike Force Group in San
14 Diego, California, and my duties include investigating the illicit trafficking of
15 controlled substances into the United States of America. I am cross designated by the
16 United States Drug Enforcement Administration to conduct narcotics investigations
17 and enforce the provisions of the Federal Controlled Substance Act, pursuant to Title
18 21 of the United States Code.
19         6.    I have received formal training, as well as on-the-job experience and
20 training, relative to the investigation of the importation, transportation, sales,
21 manufacturing and distribution of controlled substances. I have also participated in
22 investigations that involved the use of electronic surveillance techniques. I have
23 investigated illicit narcotic and controlled substances that have resulted in arrests,
24 indictments, trials and convictions. I have interviewed individuals who have been
25 directly and indirectly involved in the importation, transportation, distribution and
26 manufacturing of illegal drugs and controlled substances.
27         7.    Based on my training and experience, I have become familiar with the
28 methods utilized in narcotics trafficking operations and the unique trafficking patterns

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 1 employed by narcotics organizations. I have also spoken with senior agents as well
 2 as other senior law .e nforcement officers, about their experiences and the results of
 3 their investigations and interviews. I know that drug traffickers often require the use
 4 of a communication facility to negotiate times, places, schemes and manners for
 5 importing, possessing, concealing, manufacturing and distributing controlled
 6 substances and for arranging the disposition of proceeds from the sales of controlled
 7 substances. I know that professional drug operations depend upon maintaining their
 8 extensive contacts. The communication facility enables drug dealers to maintain
 9 contact with drug associates, drug suppliers and drug customers. I also know that drug
10 traffickers sometimes use fraudulent information, such as nominee names and false
11   addresses, to subscribe to communication facilities, especially emails, cellular phones,
12 messaging apps and frequently use communication facilities to thwart law
13 enforcement efforts to intercept their communications.
14         8.     Based upon my training and experience as a Task Force Officer, and
15 consultations with law enforcement officers experienced in narcotics smuggling
16 investigations, I am also aware that:
17
                  a.    Drug traffickers will use cellular telephones because they are
18                      mobile and they have instant access to telephone calls, text, web,
                        and voice messages;
19
20                b.    Drug traffickers will use cellular telephones and GPS devices
                        because they are able to actively monitor the progress of their
21
                        illegal cargo while the conveyance is in transit;
22
                  c.    Drug traffickers and their accomplices will use cellular
23
                        telephones and GPS devices because they can easily arrange
24                      and/or determine what time their illegal cargo will arrive at
                        predetermined locations;
25
26                d.    Drug traffickers will use cellular telephones and GPS devices to
                        direct drivers to synchronize an exact drop off and/or pick up
27
                        time of their illegal cargo;
28

                                                 3
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 1                e.    Drug traffickers will use cellular telephones to notify or warn
                        their accomplices of law enforcement activity to include the
 2                      presence and posture of marked and unmarked units, as well as
 3                      the operational status of checkpoints and border crossings;

 4                f.    The use of cellular telephones by drug traffickers tends to generate
 5                      evidence that is stored on the cellular telephones, including, but
                        not limited to emails, text messages, photographs, audio files, call
 6                      logs, address book entries, IP addresses, social network data, and
 7                      location data; and

 8                g.    The use of GPS devices by smugglers tends to generate evidence
 9                      that is stored on the GPS, including, but not limited to address
                        book entries, search history, user profiles and passwords, location
10
                        history, routes, contacts, saved addresses-tending to indicate who
11                      used or controlled the GPS device, and other digital information.
12         9.     Based upon my training and experience as a Task Force Officer, and
13 consultations with law enforcement officers experienced in drug trafficking
14 investigations, and all the facts and opinions set forth in this affidavit, I know that
15 cellular/mobile telephones can and often do contain electronic records, phone logs and
16 contacts, voice and text communications, and data such as emails, text messages, chats
17 and chat logs from various third-party applications, photographs, audio files, videos,
18 and location data. I also know that GPS devices can and often do contain electronic
19 records and data such as contacts location data. This information can be stored within
20 disks, memory cards, deleted data, remnant data, slack space, and temporary or
21   permanent files contained on or in the cellular/mobile telephone. Specifically, I know
22 based upon my training, education, and experience investigating these conspiracies
23 that searches of cellular/mobile telephones and GPS devices yields evidence:
24                a.    tending to identify attempts to transport cocaine or some other
25                      controlled substance from South and Central America to Mexico
                        and eventually into the United States;
26
27               b.     tending to identify accounts, facilities, storage devices, and/or
                        services-such as email addresses, IP addresses, and phone
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                        numbers-used to facilitate the transportation of cocaine or some
 1
                        other controlled substance from South and Central America to
 2                      Mexico and eventually into the United States;
 3
                  c.    tending to identify co-conspirators, criminal associates, or others
 4                      involved in the transportation of cocaine or some other controlled
                        substance from South and Central America to Mexico and
 5
                        eventually into the United States;
 6
                  d.    tending to identify travel to or presence at locations involved in the
 7
                        transportation of cocaine or some other controlled substance from
 8                      South and Central America to Mexico and eventually into the
                        United States, such as pickup, transfer, and delivery locations,
 9
                        along with the refueling points throughout the smuggling venture;
10
                  e.    tending to identify the user of, or persons with control over or
11
                        access to, the target device; and/or
12

13                f.    tending to place in context, identify the creator or recipient of, or
                        establish the time of creation or receipt of communications,
14                      records, or data involved in the activities described above.
15
           10.    Subscriber Identity Module (SIM) Cards, also known as subscriber
16
     identity modules, are smart cards that store data for GSM cellular telephone
17
     subscribers. Such data includes user identity, location and phone number, network
18
     authorization data, personal security keys, contact lists and stored text messages.
19
     Some of the evidence generated by a smuggler's use of a cellular telephone would
20
     likely be stored on any SIM Card that has been utilized in connection with that
21
     telephone.
22
           11.    In preparing this affidavit, I have conferred with other agents and law
23
     enforcement personnel who are experienced in the area of drug trafficking
24
     investigations, and the opinions stated here are shared by them. Further, I have
25
     personal knowledge of the following facts, or have had them related to me by persons
26
     mentioned in this affidavit. This statement is made in support of an application for a
27
28

                                                 5
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     warrant to search Target Device that are believed to contain evidence of violations of
 1
     Title 21 U.S.C. §§ 952, 960, and 963.
 2
 3                      FACTS SUPPORTING PROBABLE CAUSE
 4           13.   According to a report prepared by Customs and Border Protection Officer
 5 (CBPO) Jessica Macias, on November 15,2018, at approximately 12:04 a.m., CASAS,
 6 a United States Citizen, presented a valid California Drivers License and applied for
 7 entry into the United States at the Otay Mesa, California Port of Entry (POE).
 8 CASAS was the registered owner and driver of a 2008 Chrysler Sebring, bearing
 9 California license plates. Also traveling with CASAS were her three minor children.
10 CASAS told the primary inspection CBPO that she had owned the car for approximately
11 two weeks, and that she was going to Oceanside, CA.
12           14.   According to a report prepared by Canine Enforcement Officer (CEO)
13 Dennis Murray, he was performing vehicle primary roving operations with his Human
14 Narcotic Detection Dog (HNDD) when his HNDD alerted to the vehicle. The CBPO
15 referred the vehicle to secondary for further inspection.
16           15.   According to a report prepared by CBPO Sean Richardson, he screened
17 the vehicle through the Z-Portal x-ray machine.          The Z-Portal images revealed
18 anomalies in the dashboard area of the vehicle and CASAS was escorted to the security
19 office.
20           16.   According to a report prepared by CBPO Jeannette Maysonet, she was
21   informed of the anomalies observed in the x-ray and began searching the vehicle in the
22 secondary lot. The search revealed fifty (50) plastic wrapped packages containing a
23 crystalline substance. The packages were located inside of the firewall, dashboard, and
24 the compartment under the steering wheel. The total weight of the packages was 29.5
25 kilograms (65.03 pounds), and the crystalline substance field tested positive for the
26 presence of methamphetamine.
27
28

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 1           17.   Following the discovery of the methamphetamine, CASAS was placed
 2. under arrest. I was notified and responded to the POE where I advised CASAS of her
 3 constitutional rights per Miranda. CASAS invoked her right to counsel.
 4           18.   Upon arriving at the POE, TFO and HSI Agents identified a DHS evidence
 5 bag as property removed from the vehicle and CASAS, which contained personal
 6 property and the Target Device, which had been seized from CASAS at the time of her
 7 arrest.     Agents attempted to extract information from the Target Device but no
 8 information could be extracted at that time.
 9           19.   On November 15, 2018, the Honorable Clinton E. Averitte, United States
10 Magistrate Judge, signed a criminal complaint charging CASAS with importation of a
11 controlled substance, in violation ofTitle 21, United States Code, Sections 952 and 960.
12           20.   I know that recent calls made and received, telephone numbers, contact
13 names, electronic mail (e-mail) addresses, appointment dates, text messages, pictures
14 and other digital information are stored in the memory of the Target Device, which
15 may identify other persons involved in narcotics trafficking activities. Accordingly,
16 based upon my experience and training, consultation with other law enforcement
17 officers experienced in narcotics trafficking investigations, and all the facts and
18 opinions set forth in this affidavit, I believe that information relevant to the narcotics
19 smuggling activities of CASAS, such as telephone numbers, made and received calls,
20 contact names, electronic mail (e-mail) addresses, appointment dates, messages,
21 pictures and other digital information are stored in the memory of the Target Device.
22           21.   Based on my training and experience along with other law enforcement
23 officers' training and experience, I know that narcotics trafficking activities entail
24 intricate planning to successfully evade detection by law enforcement.             In my
25 professional experience and in the professional experience of other agents with whom
26 I have spoken, this requires planning and coordination in the weeks and often months
27 prior to the event. For example, drug trafficking organizations (DTOs) recruit, evaluate,
28 and supply load drivers with vehicles and phones, and drug smugglers are often asked

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 1 to cross a vehicle several times to establish a pattern. Additionally, co-conspirators are
 2 often unaware of the subject's arrest and will continue to attempt to communicate with
 3 the subject after the arrest to determine the whereabouts of their valuable cargo. This
 4 communication,       both   pnor    to,   during    and   after   the   event    IS   often
 5 accomplished/attempted via cellular telephone communication(s).              Therefore, I
 6 respectfully request permission to search the Target Device for items listed in
 7 Attachment B beginning on August 15, 2018, up to and including November 15, 2018.
 8                                    METHODOLOGY
 9         22.   It is not possible to determine, merely by knowing the cellular/mobile
10 telephone's make, model and serial number, the nature and types of services to which
11 the device is subscribed and the nature of the data stored on the device. Cellular/mobile
12 devices today can be simple cellular telephones and text message devices, can include
13 cameras, can serve as personal digital assistants and have functions such as calendars
14 and full address books and can be mini-computers allowing for electronic mail services,
15 web services and rudimentary word processing. An increasing number of
16 cellular/mobile service providers now allow for their subscribers to access their device
17 over the internet and remotely destroy all of the data contained on the device. For that
18 reason, the device may only be powered in a secure environment or, if possible, started
19 in "airplane mode" which disables acces's to the network. Unlike typical computers,
20 many cellular/mobile telephones do not have hard drives or hard drive equivalents and
21   store information in volatile memory within the device or in memory cards inserted into
22 the device. Current technology provides some solutions for acquiring some of the data
23 stored in some cellular/mobile telephone models using forensic hardware and software.
24 Even if some of the stored information on the device may be acquired forensically, not
25 all of the data subject to seizure may be so acquired. For devices that are not subject to
26 forensic data acquisition or that have potentially relevant data stored that is not subject
27 to such acquisition, the examiner must inspect the device manually and record the
28

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 1 process and the results using digital photography. This process is time and labor
 2 intensive and may take weeks or longer.
 3         23.   Following the issuance of this warrant, I will collect the Target Device
 4 and subject them to analysis. All forensic analysis of the data contained within the
 5 telephone and its memory cards will employ search protocols directed exclusively to
 6 the identification and extraction of data within the scope of this warrant.
 7         24.   Based on the foregoing, identifying and extracting data subject to seizure
 8 pursuant to this warrant may require a range of data analysis techniques, including
 9 manual review, and, consequently, may take weeks or months. The personnel
10 conducting the identification and extraction of data will complete the analysis within
11 ninety (90) days, absent further application to this court.
12                 PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
13         25.   Other than as described above, the United States has not attempted to
14 obtain this information by other means.
15 I I
16 II
17 II
18 II
19 II
20 II
21 II
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23 II
24 II
25 II
26 II
27 II
28 II

                                                9
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 1
                                         CONCLUSION
 2
           25.    Based on all of the facts and circumstances described above, there is
 3
     probable cause to conclude that CASAS used the Target Device to facilitate violations
 4
     of21 U.S.C. §§ 952, 960, and 963.
 5
           26.    Because the Target Device was promptly seized during the investigation
 6
     of CASAS' smuggling activities and has been securely stored, there is probable cause
 7
     to believe that evidence of illegal activities committed by CASAS continues to exist on
 8
     the Target Device. As stated above, I believe that the date range for this search is from
 9
     August 15, 2018 to November 15, 2018.
10
           27.    WHEREFORE, I request that the court issue a warrant authorizing law
11
     enforcement agents and/or other federal and state law enforcement officers to search
12
     the items described in Attachment A, and seize items listed in Attachment B, using the
13
     methodology described above.
14
           I swear the foregoing is true and correct to the best of my knowledge and belief.
15
16
                                                           nana Rosas-Carranza
17                                                       Task Force Officer, HSI
18
     Subscribed and sworn to before me this     /~     day of April, 2019.
19
20
21                                           ~~ -
                                            HON. NITA L. STORMS
22                                          United States Magistrate Judge
23
24
25
26
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                                                10
